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                           UNITED STATES BANKRUPTCY COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                 SPRINGFIELD DIVISION

 In Re:                                              Case No. 18-71763

 Timothy P. Dee
                                                     Chapter 13
 Crystle L. Dee

 Debtors                                             Hon. Judge Mary P. Gorman

                                   CERTIFICATE OF SERVICE

The undersigned does hereby certify that on May 10, 2021 a copy of the foregoing has been duly
electronically noticed to the following parties:

          Marcia L Moellring, Debtors’ Counsel
          maria@moellringamblerlaw.com

          Marsha L Combs-Skinner, Trustee
          Trusteecs@Danville13.com

          U.S. Trustee, Office of the U.S. Trustee
          USTPRegion10.PE.ECF@usdoj.gov

And deposited in the United States mail, postage prepaid, addressed to the following parties:

          Timothy P. Dee, Debtor
          3024 Lantern Ln
          Quincy, IL 62301

          Crystle L. Dee, Debtor
          3024 Lantern Ln
          Quincy, IL 62301

                                                     Respectfully Submitted,

                                                     /s/ Molly Slutsky Simons
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